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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


                                          )
STATE OF TEXAS,                           )
STATE OF MISSOURI,                        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )   Civil Action No. 2:21-cv-00067-Z
                                          )
JOSEPH R. BIDEN, JR.,                     )
in his official capacity as               )
President of the United States, et al.,   )
                                          )
      Defendants.                         )
                                          )




                DEFENDANTS’ MONTHLY REPORT FOR MARCH 2022
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        On August 13, 2021, the Court entered an injunction requiring Defendants to, inter alia,

“enforce and implement [the Migrant Protection Protocols (MPP)] in good faith.” ECF No. 94 at

52; see State v. Biden, No. 21-10806, 2021 WL 3674780 at *13 (5th Cir. Aug. 19, 2021). “To

ensure compliance with this order,” the Court provided, “starting September 15th, 2021, the

Government must file with the Court on the 15th of each month, a report stating

        (1) the total monthly number of encounters at the southwest border; (2) the total
        monthly number of aliens expelled under Title 42, Section 1225, or under any other
        statute; (3) Defendants’ total detention capacity as well as current usage rate; (4)
        the total monthly number of “applicants for admission” under Section 1225; (5) the
        total monthly number of “applicants for admission” under Section 1225 paroled
        into the United States; and (6) the total monthly number of “applicants for
        admission” under Section 1225 released into the United States, paroled or
        otherwise.

ECF No. 94 at 52-53.

        Defendants submit the following Report in compliance with this requirement. This April

15th report reflects data from March 1, 2022, through March 31, 2022.1

        1. Total Monthly Number of Encounters at the Southwest Border

        For the month of March 2022, DHS reported 221,303 total encounters at the Southwest

Border. Ex. A at 1 (CBP Report for March 2022). This figure combines statistics reported by the

U.S. Customs and Border Protection’s (CBP) Office of Field Operations (OFO), which deals with

noncitizens seeking to enter at land ports of entry (POE), with statistics from the U.S. Border Patrol

(USBP), which apprehends noncitizens seeking to enter between POEs.

        2. Total Monthly Number of Aliens Expelled Under Title 42, Section 1225, or Under
           Any Other Statute

        For the month of March 2022, DHS reported 123,304 total noncitizens expelled under Title



1
  Pursuant to the Court’s Order of January 20, 2022, ECF No. 125, Defendants are no longer
required to report the additional categories of information previously required under the Court’s
Order of November 18, 2021, ECF No. 116.


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42 and removed or returned under Title 8 authorities (including 8 U.S.C. § 1225). This figure

combines 109,549 Title 42 expulsions and 12,070 Title 8 removals and returns reported by CBP,

Ex. A at 2-3, and 1,685 removals under 8 U.S.C. § 1225 reported by U.S. Immigration and

Customs Enforcement (ICE)2, Ex. B at 2 (ICE Report for March 2022). As explained in Exhibit

A, CBP’s Title 8 removals and returns include several categories of removals and returns

conducted by OFO and USBP, including expedited removals, reinstated orders of removal,

voluntary returns, returns pursuant to 8 U.S.C. § 1225(b)(2)(C), withdrawals of applications for

admission, etc. Ex. A at 2-3. ICE’s removals under section 1225 represent expedited removals. Ex.

B at 2.

          3. Total Detention Capacity and Current Usage Rate

          For the month of March 2022, DHS reported that its total detention capacity was

approximately 31,715, a figure combining CBP’s approximate holding capacity of 5,935, Ex. A at

3-4, and ICE’s current approximate funded detention capacity of 25,780,3 Ex. B at 1. CBP’s

approximate holding capacity is the sum of OFO’s approximate holding capacity, 935, and USBP’s

approximate maximum holding capacity, 5,000. Ex. A at 3 & n.11.

          DHS reported that the current average daily usage rate throughout March 2022 for CBP



2
 ICE removals include noncitizens processed for Expedited Removal (ER) or Voluntary Return
(VR) that are turned over to ICE Enforcement and Removal Operations (ERO) for detention.
Noncitizens processed for ER and not detained by ERO or VR after June 1, 2013, and not detained
by ERO are primarily processed by CBP, and would be included within CBP’s data. Ex. B.
3
  ICE has approximately 34,000 funded detention beds available nationwide but its full inventory
of bedspace is severely limited to approximately 75% capacity due to various court orders limiting
the intake of noncitizen detainees, an increase in detention facility contract terminations, detention
facility contract modifications, and the ongoing COVID-19 pandemic. See, e.g., Fraihat v. ICE,
445 F. Supp. 3d 709 (C.D. Cal. Apr. 20, 2020). Further, as of March 15, 2022, the funding for
adult detention beds decreased to 31,500. Thus, based on the factors listed above, the available
bedspace inventory is now approximately 25,780 beds. Ex. B at 1.



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detention was 24.5% for OFO facilities and 244% for Border Patrol facilities, Ex. A at 3 & n.11,

and approximately 77.75% for ICE detention facilities. See Ex. B at 1 (rate equals average daily

population of 20,045 for the month of March 2022 over the current approximate total detention

capacity of 25,780).

        4. Total Monthly Number of Applicants for Admission under § 1225

        For the month of March 2022, DHS reported that the total number of applicants for

admission under Section 1225 encountered4 by CBP was 111,754. Ex. A at 5. This figure is

consistent with CBP’s total number of noncitizen encounters subtracting its Title 42 expulsions.

See Ex. A at 5 n.12; supra §§ 1, 2.

        5. Total Monthly Number of Applicants for Admission under § 1225 Paroled into
           the United States

        For the month of March 2022, DHS reported that the total number of applicants for

admission under Section 1225 paroled into the United States was 36,777. This figure combines

34,318 CBP grants of parole—24,753 USBP Apprehensions with a Parole Disposition, 3,496 OFO

inadmissible noncitizens with a Parole Disposition, and 6,069 individuals categorized as “OFO

NTA [Notice to Appear] and Paroled into the U.S. on a case-by-case basis pursuant to 8 U.S.C. §

1182(d)(5),” Ex. A. at 5—and 2,459 ICE grants of parole, Ex. B at 3.

        6. Total Monthly Number of Applicants for Admission under § 1225 Released into
           the United States, Paroled or Otherwise



4
  An applicant for admission is defined as “[a]n alien present in the United States who has not been
admitted or who arrives in the United States (whether or not at a designated port of arrival and
including an alien who is brought to the United States after having been interdicted in international
or United States waters).” 8 U.S.C. § 1225(a)(1). Thus, an applicant for admission may include
noncitizens that have never been encountered by CBP. At this time, CBP does not have a
mechanism to track applicants for admission in the United States that are not encountered by CBP.
Ex. A at 5 n.12. All references in this document to “applicants for admission” refer to noncitizen
applicants for admission encountered at or in-between POEs by CBP.



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        For the month of March 2022, DHS reported that the total number of applicants for

admission under Section 1225 released into the United States, paroled or otherwise, was 80,116, a

figure reflecting CBP’s 65,771 total releases across all categories for the month of March 2022,

Ex. A at 6,5 combined with ICE’s 14,345 total releases of noncitizens transferred to it from CBP

following their apprehension or encounter at the Southwest Border for the month of March 2022,

Ex. B at 3.

        Dated: April 15, 2022               Respectfully submitted,

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  This report does not include data on unaccompanied alien children (UCs), as defined in 6 U.S.C.
§ 279(g), who the Court recognized are not amenable to MPP, ECF No. 94 at 9, and who are
subject to special processing and are transferred to U.S. Department of Health and Human Services
Custody pursuant to the Trafficking Victims Protection Reauthorization Act. See 8 U.S.C.
§§1232(a)(5)(D), 1232(b)(3), 1232(c)(2)(A), 1232(c)(3); see also CBP, Southwest Border
Encounters, https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters (providing
statistics on UCs encountered by CBP).


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                                 Counsel for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 15, 2022, I electronically filed the foregoing document with

the Clerk of the Court for the United States District Court for the Northern District of Texas by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                            /s/ Joseph A. Darrow
                                            JOSEPH A. DARROW
                                            U.S. Department of Justice




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